Case 2:03-cr-20305-SH|\/| Document 8 Filed 07/15/05 Page 1 of 2 Page|D 6

   

UNITED sTATEs DIsrRICT coURT F‘LED E"" 1----,”'--~%~~-~ D-C»
wEsTERN DISTRICT oF TENNESSEE
Western Division 05 JUL |3 PH 52 05
UNITED sTATEs or AMERICA CLER§<'UH WE%UHT
¢ 'r , -_,)` |:‘,,
W/O Cii: l`l'\é, MEMPHIS
-vs- Case No. 2:03cr20305-Ma

DAMIEN HUGHES

 

ORDER OF DETENT|ON PENDING TRIAL
F|ND|NGS
In accordance with the Bail Reform Act, 18 U.S.C. § 3142(i), a detention hearing was not
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant is not currently eligible for release due to pending matters in another
j urisdiction; to Wit, the defendant is serving a sentence from another case.

*** Arraignment set for Wednesday July 20, 2005 @ 10:00am in C/R #5. ***
D|RECTIONS REGARD|NG DETENT|ON

DAMIEN HUGHES is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. DAMIEN HUGHES shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

Dare; Ju1y13,2005 'O/CW Y %WJ'

DIANE K. VESCOVO
UNITED S'I`ATES MAGISTRATE JUDGE

This dochnent entered on the docket sheet in compliance
wlth Ftn|e 55 and!or Szlbl FHCrP on " '

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:03-CR-20305 Was distributed by faX, mail, or direct printing on
July 15, 2005 to the parties listedl

 

 

Stuart J. Canale

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

